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MAR 11 2025

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Dear Honorable Judge Patrica M Mayer 0c24-12610

This is in Reference to the previous letter | sent you. | have some blatant lack of
performance in my case by my paid lawyer who | trusted and followed his directions in this
what was asked of me, In September of 2024 | was told to pay Loan Ranger $1000 a month
and $250 to the trustee on the 17" of each month and have the 9 locust street property
Sold buy June, as | did assumed that was what | was to pay , he also told me that | would
have a substantial increase in payment and was encouraged to rent out the restaurant/
Event space next to my Home to handle to increase in payment.

Your Honor | asked him to verify and itemize the fees that the loan ranger was
charging, because my loan went from 180k to 340k since | filed for bankruptcy, | asked him
about the fees he said every time he talks to the opposing council it cost me 800 dollars. So
since September there was one plan | knew of and | followed it then he didn’t not Show up
for my November 18" the hearing he told me | needed to get another lawyer for that hearing
that is what | told you that day in court when he did not show so it was continued until the
February 18"

December, January, Nothing was done February 13" he submitted the first
amended First Amended Chapter 13 plan the morning of the hearing knowing it would not
be heard by you that day and then at the end of day Friday the 14" he called my very
animated to sign a new plan draw up by opposing council which first had me alarmed why
he was so animated about signing this New plan to look over he need my approval right
then to submit it | was at work and could not look at it frightened me to approve it and |
didn’t have time to look at once | saw it | knew this was a not a good plan because it would
not go through the Trustee.

Also this plan made is so if anytine down the road’and there was an irregularity in
any form no matter what | had paid he would foreclose in ten days without going back to
court which | thought was set up to fail for my Chapter 13 and would eliminate my
protection your my lawyer Did Not do his Due diligence on my behalf by timely filing the
appropriate Documents in a timely fashion for my protection therefore Your Honor |
humbly ask that you reconsider relief at this point and allow me to continue the plan | was
given to sell the property at 9 Locust street and reduce the amount owed and continue my
bankruptcy as | was prescribed , Your Honor Loan Ranger will double his investment with
the principle paid at the sale of locust street and interest would not continue grow and | will
be able to continue to afford to pay my Bankruptcy this is my life right now at 60 yrs of age |
have nothing else for my Future .

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|can complete this bankruptcy before | retire Your Honor a couple of months will
make the difference in my short time | have left | truly need your help even though | still
have Members 1* included in this bankruptcy which | borrowed the money to rehab the
condemned property that | have been livening in since it was given letter of occupancy
June 18 2024 which was always the plan my lawyer Brad Sadek has refused to help me
anymore with this case he has stopped taking my calls he will answer a email from time to
time but has told me he is not representing me anymore | know | have a March 13" hearing
but that all! know.

Why would a lawyer treat someone who has paid what he asked and done what he
ask to be treated like this | don’t want to start this case over | want to finish it now the lease
for the restaurant is pending if | can keep this first amended plan | have been trying to find
an appeal lawyer but everyone say they cant do anything forme! am ina horrible position
right now and only you can help me either way the lenders will bel@de Mi
while homeless or I will sell the property and keep my current home and pay off this First
Amended plan | was only given the plan | previously was adhering to | am not protected in
either lien without this plan.

So | can end up losing both properties without this plan. Your Honor
my lawyer failed to file the documents needed in a timely order to avoid your decision to
dismiss and the reason | am filing an appeal case# 5:25-cv-00882-JFM

JERRY JOHNSON
3/10/2025

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